              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             Criminal Case No. 2:13-cr-00013-MR-DLH-1


UNITED STATES OF AMERICA,                   )
                                            )
                        Plaintiff,          )
                                            )
      vs.                                   )      ORDER
                                            )
JASON DEWAYNE SMITH,                        )
                                            )
                        Defendant.          )
            ___                             )

      THIS MATTER comes before the Court on the Defendant’s “Motion

Pursuant to Rule 36 of Federal Rule[s] of Criminal Procedure” [Doc. 52], and

the Defendant’s letter [Doc. 53], which the Court construes as a motion for

review of computation of sentence.

      On September 12, 2013, the Defendant pleaded guilty pursuant to a

written plea agreement to one count of possession of a firearm while being

an unlawful user of and addicted to a controlled substance, in violation of 18

U.S.C. § 922(g)(3). [Doc. 22]. The Defendant was sentenced on August 21,

2014, to 92 months’ imprisonment. [Doc. 38]. The Defendant did not file a

direct appeal.

      On September 28, 2016, the Defendant filed the present motion

pursuant to Rule 36 of the Federal Rules of Criminal Procedure. [Doc. 52].


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Specifically, the Defendant moves for the correction of various alleged errors

in the Presentence Report. He also challenges the amount of jail credit that

he has received. [Id.]. On October 3, 2016, the Defendant filed a letter, in

which he asks the Court to review his sentence computation and particularly

the application of jail credit to that sentence. [Doc. 53].

      Rule 36 of the Federal Rules of Criminal Procedure provides that

“[a]fter giving any notice it considers appropriate, the court may at any time

correct a clerical error in a judgment, order, or other part of the record, or

correct an error in the record arising from oversight or omission.” Fed. R.

Crim. P. 36. “Rule 36 motions apply only to clerical errors and are not the

proper vehicle for challenging the substance of the information in a

presentence report . . . .” United States v. Wilkes, 376 F. App’x 295, 296 (4th

Cir. 2010) (per curiam). Instead, such challenges must be made in the form

of objections to the presentence report, which objections must be filed within

fourteen days of receiving the document.         See Fed. R. Crim. P. 32(f).

Because the time for making such objections has long since passed, the

Court lacks jurisdiction to entertain the Defendant’s motion to correct errors

in his PSR.    See United States v. Davis, No. PJM 00-0424, 2012 WL

8466126, at *1 (D. Md. Nov. 2, 2012).


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      With respect to the Defendant’s requests for jail credit and for review

of the computation of his sentence, the Court notes that the Attorney

General, not the sentencing court, is responsible for computing a prisoner’s

credit. United States v. Wilson, 503 U.S. 329, 335 (1992). A prisoner

seeking review of the computation of his sentence credit must first seek

administrative review of that computation through the Bureau of Prisoners.

Only after such administrative remedies have been exhausted can a prisoner

then seek judicial review of his sentence computation. Id. Further, because

“[a] claim for credit against a sentence attacks the computation and

execution of a sentence rather than the sentence itself,” United States v.

Miller, 871 F.2d 488, 490 (4th Cir. 1989), such claims must be raised pursuant

to 28 U.S.C. § 2241 in the district of confinement. In re Jones, 226 F.3d 328,

332 (4th Cir. 2000); 28 U.S.C. § 2241(a).

      Accordingly, the Defendant should address his challenges to the

computation of his sentence to the Bureau of Prisons.              Once his BOP

administrative remedies have been exhausted, the Defendant may seek

judicial review in the district of his confinement.

      IT IS, THEREFORE, ORDERED that the Defendant’s “Motion

Pursuant to Rule 36 of Federal Rule[s] of Criminal Procedure” [Doc. 52] and


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the Defendant’s letter [Doc. 53], which the Court construes as a motion for

review of computation of sentence, are DENIED.

     IT IS SO ORDERED.

                               Signed: October 7, 2016




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